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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION




ROBERT HORTON,

   Plaintiff,                                         CASE NO.:

-VS-

GINNY'S INC.,

   Defendant.
                                       /

                                           COMPLAINT

       1.       Plaintiff alleges violation of the Telephone Consumer Protection Act, 47 U.S.C.

§227 et seq. (“TCPA”).

                                 JURISDICTION AND VENUE

       2.       Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       3.       Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       4.       The alleged violations described herein occurred in Shelby County, Tennessee.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the


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judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                 FACTUAL ALLEGATIONS

         5.    Plaintiff is a natural person, and citizen of the State of Tennessee, residing in St.

Memphis, Shelby County, Tennessee.

         6.    Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

         7.    Defendant is a corporation with its principal place of business located at 1112 7TH

Avenue, Monroe, WI 53566.

         8.    Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(901) *** - 7374, and was the called party and recipient of Defendant’s hereinafter described

calls.

         9.    Defendant placed an exorbitant number of automated calls to Plaintiff’s cellular

telephone (901) *** - 7374 in an attempt to collect a debt.

         10.   On several occasions over the last four (4) years due to continued calls from

Defendant to Plaintiff’s aforementioned cellular telephone number, Plaintiff instructed

Defendant’s agent to stop calling.

         11.   Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following phone number: (877) 998-5872, and

when that number is called, a pre-recorded message answers. “Well, hello, this is Ginny. Here is

to making life easier and more fun. Your call may be recorded for quality assurance ….”

         12.   Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”


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which has the capacity to store or produce telephone numbers to be called, without human

intervention, using a random or sequential number generator (including but not limited to a

predictive dialer) or an artificial or prerecorded voice; and to dial such numbers as specified by

47 U.S.C § 227(a)(1) (hereinafter “autodialer calls”). Plaintiff will testify that he knew it was an

autodialer because of the vast number of calls he received and because when he answered a call

from the Defendant he would hear a pre-recorded message stating the call was from Ginny’s, and

to please hold the line for the next available representative.

        13.     Furthermore, some or all of the calls at issue were placed by the Defendant using

a “prerecorded voice,” as specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

        14.     In or about January of 2016, Plaintiff answered a call from Defendant to his

aforementioned cellular telephone number, met with an automated message, held the line and

was eventually connected to a live representative, and informed an agent/representative of

Defendant that he returned the item purchased because it was defective, and demanded that they

cease calling his aforementioned cellular telephone number.

        15.     During the aforementioned phone conversation in or about January of 2016 with

Defendant’s agent/representative, Plaintiff unequivocally revoked any express consent

Defendant may have had for placement of telephone calls to Plaintiff’s aforementioned cellular

telephone number by the use of an automatic telephone dialing system or a pre-recorded or

artificial voice.

        16.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was done so without the “express consent” of the Plaintiff.

        17.     Each subsequent call the Defendant made to the Plaintiff’s aforementioned

cellular telephone number was knowing and willful.


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       18.    Again, in or about March of 2016, due to continued automated calls to his

aforementioned cellular telephone number from the Defendant, Plaintiff again received a call

from Defendant, met with an extended automated message, was eventually connected to a live

agent/representative of Defendant, and informed the agent/representative of Defendant that he

had previously informed them not to call his cellular phone, and again demanded that Defendant

cease placing calls to his aforementioned cellular telephone number.

       19.    Additionally, in or about January of 2017, due to continued automated calls to his

aforementioned cellular telephone number from the Defendant, Plaintiff again received a call

from Defendant, met with an extended automated message, was eventually connected to a live

agent/representative of Defendant, and informed the agent/representative of Defendant that he

had previously informed them not to call his cellular phone, that Defendant had ignored his

requests and continued calling him for nearly one year, and again demanded that Defendant

cease placing calls to his aforementioned cellular telephone number.

       20.    Despite actual knowledge of their wrongdoing, the Defendant continued the

campaign of abuse, calling the Plaintiff despite the Plaintiff revoking any express consent the

Defendant may have had to call his aforementioned cellular telephone number.

       21.    On at least five (5) separate occasions, Plaintiff has either answered a call from

Defendant or returned a call to Defendant regarding his account, held the line to be connected to

a live representative, and demanded that Defendant cease placing calls to his aforementioned

cellular telephone number. His principal reason for answering these calls and making these

demands of Ginny’s was the cumulative injury and annoyance he suffered from the calls placed

by Ginny’s. These injuries are further described in paragraphs 23 through 30 herein.




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        22.     Defendant has placed approximately two-hundred fifty (250) actionable calls to

Plaintiff’s aforementioned cellular telephone number. (Please see attached Exhibit “A”

representing a non-exclusive call log of twenty-three (23) calls from October 21, 2016 through

November 30, 2016).

        23.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

his right of seclusion.

        24.     From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of his cellular telephone line

and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers or

outgoing calls while the phone was ringing from Defendant’s calls.

        25.     From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time. For

calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for the

calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal

with missed call notifications and call logs that reflect the unwanted calls. This also impaired the

usefulness of these features of Plaintiff’s cellular phone, which are designed to inform the user of

important missed communications

        26.     Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go through the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected




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the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s cellular

phone, which are designed to inform the user of important missed communications.

         27.   Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

         28.   Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone where a voice message was left which occupied space in Plaintiff’s phone or network.

         29.   Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular phone and

his cellular phone services.

         30.   As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affected in a personal and individualized way by stress, frustration, and

aggravation.

         31.   Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in

this case.

         32.   Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.

         33.   Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

         34.   Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.


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        35.     Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        36.     Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        37.     Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant call list.

        38.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        39.     Not one of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        40.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

                                             COUNT I
                                      (Violation of the TCPA)

        41.     Plaintiff realleges and incorporates paragraphs one (1) through forty (40) above as

if fully set forth herein.

        42.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and demanded for the calls to stop.

        43.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, treble damages, punitive damages, actual

damages and any other such relief the court may deem just and proper.




                                             Respectfully Submitted,




                                             s/Mark A Lambert
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                                       And


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